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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                          CASE NO. 21-80319-CIV-CANNON/Brannon

  GOSSAMER WING, LLC
  as Trustee,

         Plaintiff,
  v.

  THE BANK OF NEW YORK MELLON fka
  THE BANK OF NEW YORK, as Trustee for
  The Certificate holders of CWABS, Inc., Asset-
  Backed Certificates, Series 2007-2,

        Defendant.
  _______________________________/

                                 ORDER TRANSFERRING CASE

          THIS CAUSE comes before the Court upon Defendant’s Notice of Removal

   [ECF No. 1], in which Defendant requests that this case be transferred to the Middle District of

   Florida because it is “based entirely on the Foreclosure Action litigated in Pasco County, Florida,

   and the underlying mortgage at issue secures a Property located in Pasco County” [ECF No. 1

   ¶ 20]. In the Court’s Omnibus Order, Plaintiff was directed to show cause why this case should

   not be transferred to the Middle District of Florida [ECF No. 33]. Plaintiff then filed a response,

   stating that venue in the Southern District of Florida was proper because Robert Littman, the

   manager of Gossamer Wing, LLC, is a resident of Palm Beach County [ECF No. 37 ¶ 2].

   However, Plaintiff also stated that it “does not object [to a transfer] if this Court believes this

   action is more appropriately adjudicated by the Middle District of Florida” [ECF No. 37 ¶ 4].

          Upon due consideration of Defendant’s Notice of Removal, Plaintiff’s Response to the

   Order to Show Cause, the case file, and the relevant factors in Atl. Marine Const. Co. v. U.S.

   Dist. Ct. for W. Dist. of Texas, 571 U.S. 49, 62-63 (2013), the Court finds that venue for this
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   case is more appropriate in the Middle District of Florida and that transferring the case to that

   District would serve the convenience of the parties and witnesses and otherwise promote the

   interest of justice.

           Accordingly, pursuant to 28 U.S.C. § 1404(a), it is ORDERED that this case is

   transferred to the United States District Court for the Middle District of Florida. The Clerk is

   directed to CLOSE this matter in this Court.

          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 17th day of March

  2021.



                                                  ________________________________
                                                  AILEEN M. CANNON
                                                  UNITED STATES DISTRICT JUDGE
  cc:     counsel of record




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